                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 In re:                                               Case No. 24-40667
                                                      Chapter 13
 Brandon Yopp,
                                                      Judge Maria L. Oxholm
    Debtor.


                   STIPULATION TO EXTEND THE DEADLINE
                      TO OBJECT TO DISCHARGEABILITY

          I Am Detroit, Inc. and Hatteras, Inc. (collectively, “the Creditors”), through

their respective counsel, stipulate as follows:

          1.    Debtor’s counsel has agreed to extend the Creditors’ deadline to object

to dischargeability of certain debts under section 523, chapter 13, title 11 of the

United States Code, from May 6, 2024 to July 1, 2024;

          WHEREFORE, consistent with this stipulation, Debtor and the Creditors

stipulate, agree and respectfully request this Court to enter the proposed Stipulated

Order, attached hereto as Exhibit 1.




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Respectfully submitted,

TAFT STETTINIUS &                       HS&A, P.C.
HOLLISTER, LLP
                                        By: /s/ Marguerite Hammerschmidt
By: /s/ Kimberly Ross Clayson           (w/permission)
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Counsel to Creditors,
I Am Detroit, Inc. and Hatteras, Inc.
                                        Dated: April 23, 2024
Dated: April 23, 2024




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                                   EXHIBIT 1




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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
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In re:                                         Case No. 24-40667
                                               Chapter 13
Brandon Yopp,
                                               Judge Maria L. Oxholm
    Debtor.


                    ORDER TO EXTEND THE DEADLINE
                    TO OBJECT TO DISCHARGEABILITY

         THIS MATTER came before the Court upon the stipulation between I Am

Detroit, Inc. and Hatteras, Inc. (collectively “the Creditors”), and Debtor, Brandon

Yopp (the “Debtor”), the Court read the same and is otherwise fully advised in the

premises;

         NOW THEREFORE, IT IS HEREBY ORDERED that the Creditors’

deadline to object to dischargeability of certain debts under section 523, chapter 13,

title 11 of the United States Code is hereby extended from May 6, 2024 to July 1,

2024.




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